IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NORTH CAROLINA
WESTERN DIVISION
Civil Action No.: 5 : l7-cv-00534-H

)
EPIC GAMES, lNC., )
)
Plaintiffs, )
)
v ) DECLARATION OF SERVICE
)
c.R., )
)
Defendant. )
‘ )

 

Pursuant to Rule 4(l)(l) of the Federal Rules of Civil Procedure and 28 U.S.C. § 1746,
Christopher M. Thomas hereby declares and states as follows:

l. l am an attorney with Parker Poe Adams & Bernstein LLP, which represents
Plaintiff Epic Games, Inc. (“Epic”) in this action. I am over 18 years of age, under no disability,
and have personal knowledge of the facts set forth herein.

2. The declaration is offered as proof of service of Defendant C.R. (“Defendant” or
“C.R.”), and of good faith attempts to serve Defendant prior to that.

3. On October 27, 2017, I caused the Civil Summons, Complaint, Rule 7.1 Financial
Disclosures of Plaintiff Epic Games, Inc., and Notice of Appearance of Christopher M. Thornas
in the above-captioned action to be deposited with a designated delivery service authorized
pursuant to 26 U.S.C. § 7502(f)(2), addressed as follows:

[C.R.]l
5 Vireo Circle

 

1 Because I was unaware of Defendant’s status as a minor at the time the papers were filed, the original
summons was issued, and service was attempted, the original summons, like some of the other papers
filed in the above-captioned matter, contains Defendant’s full name. Defendant’s name has been
substituted with initials herein for the reasons stated in Plaintiff’s letter to the Clerk of Court dated
November 30, 2017. (DE 7.)

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Newark, Delaware 1971 1
(F ederal Express Tracking Number: 770604485 122)

4. The Civil Summons, Complaint, Rule 7.1 Financial Disclosures of Plaintiff Epic
Games, Inc., and Notice of Appearance of Christopher M. Thomas were received on October 28,
2017 at 8:3lam, as evidenced by the Proof of Delivery Notification, a true and correct copy of
Which, with Defendant’s full name redacted, is attached hereto as EXhibit A.

5. Following delivery of the Civil Summons, Complaint, Rule 7.1 Financial
Disclosures of Plaintiff Epic Games, Inc., and Notice of Appearance of Christopher M. Thomas,
the undersigned came to be aware that Defendant C.R. maybe a minor. (See DE 7 .)

6. Pursuant to Rule 4(g) of the Federal Rules of Civil Procedure, a minor “in a
judicial district of the United States must be served by following state law for serving a summons
or like process on such a defendant in an action brought in the courts of general jurisdiction of
the state where service is made.” Id.

7. Pursuant to Rule 4(f)(l)(ll)(b) of the Delaware Superior Court Rules of Civil
Procedure, service of process shall be made “[u]pon an infant under the age of 18 years . . . by
service in the same manner as upon an individual, upon an adult person with whom such infant
resides or Who has the infant’s place of abode.” Rule 4(i)(1)(l) authorizes service of process on
an individual by “delivering a copy of the summons, complaint and affidavit, to that individual
personally or by leaving copies thereof at that individual's dwelling house or usual place of
abode with some person of suitable age and discretion then residing therein.” Rule 4(d) requires
that service “shall be made by the sheriff” 1

8. In light of the possibility that defendant C.R. is a minor, and to ensure compliance
with the applicable rules, on November 3, 2017, l caused to be sent, via Federal Express the

Civil Summons, Complaint, Rule 7.1 Financial Disclosures of Plaintiff Epic Games, Ino., and

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Notice of Appearance of Christopher M. Thomas in the above-captioned action to the Office of
the Sheriff of New Castle County, Wilmington, Delaware to be personally served as follows:
C.R.
5 Vireo Circle
Newark, DE l97ll

9. On November 9, 2017, Deputy Sheriff Joseph Meriggi (“Meriggi”) attempted to
serve C.R. at the above address at ll:l3am and at lpm. The 11:13am attempt was unsuccessful
During the second attempt at lpm, Meriggi Was informed by Adam Rogers (C.R.’s uncle) that
C.R. is a juvenile and does not live at the address, but rather he lives with his mother, Lauren
Rogers, at an unknown address in the vicinity of Wilmington, Delaware. Adam Rogers also
stated that he did not know the telephone number at which Lauren Rogers could be reached.

lO. On November 22, 2017, Meriggi issued an Affidavit of Non-Service, a true and
correct copy of which is attached hereto as Exhibit B. As stated in the affidavit, Meriggi
searched Delaware public records to determine the location of C.R. and Lauren Rogers, but was
unable to find any information on C.R. and stated that “there are multiple [entries for] ‘Lauren
Rogers’ listed with different addresses.” (EXh_.B, at p.l.)

11. After receiving the Affidavit of non-service, l caused a report to be run on Lauren
Rogers, Which listed “501 West Ave, New Castle, DE 19720-5953” as her current address.

12. On or about December 8, 2017, my firm engaged the services of S & H
Investigative Services (“S & H”) in Wilmington, Delaware to check the accuracy of the report
and otherwise ascertain the current residence address of C.R. and his mother, Lauren Rogers.

13. On or about January 5, 2018, our office was informed by S & H that Lauren

Rogers and C.R. had been located and found to reside at 501 West Ave., New Castle, Delaware

19720.

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14. As a result of this new information, we filed a proposed amended Summons with
the Court containing this new information, and an amended Summons was issued on January 10,
2018. (DE 8-9.)

15. On January 10, 2018, I caused to be sent via Federal Express the amended Civil
Summons, Complaint, Rule 7.1 Financial Disclosures of Plaintiff Epic Games, Inc., and Notice
of Appearance of Christopher M. Thomas in the above-captioned action to the Office of the
Sheriff of New Castle County, Wilmington, Delaware to be personally served as follows:

C.R.
c/o Lauren Rogers
501 West Ave.
New Castle, DE 19720

16. On January 18, 2018, my office received email confirmation from the Office of
the Sheriff of New Castle County that service was obtained on January 18, 2018 at 9:43 am

17 . On January 22, 2018, my office received two affidavits of service from the Office
of the Sheriff, New Castle County, Delaware, both dated January 19, 2018, and executed by
Deputy Sheriff Allen Harris of the Office of the Sheriff of New Castle County. (True and correct
copies of both affidavits of service are attached hereto together as Exhibit C.)

18. Each affidavit confirms that on January 18, 2018 at 9:43am, Deputy Sheriff Allen
Harris personally served a copy of the Civil Summons, Complaint, Rule 7.1 Financial
Disclosures of Plaintiff Epic Games, lnc., and Notice of Appearance of Christopher M. Thomas
on Lauren Rogers, C.R.’s mother and an adult person with whom Caleb Rogers resides at 501
West Avenue, New Castle Delaware, 19720. (See E_Xh_._Q at pp.2-4.)

19. I declare under penalty of perjury that the foregoing is true and correct.

[Sz`gnature Block on following page.]

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v

 

Executed this the 22nd day of January, 2018.

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PARKER POE ADAMS & BERNSTEIN LLP
/s/Christopher M. Thomas

Christopher M. Thomas

N.C. Bar No. 31834
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Attorneyfor Plaintijj‘Epz`c Games, Inc.

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CERTIFICATE OF SERVICE
This is to certify that a copy of the foregoing DECLARATION OF SERVICE was
electronically filed this day with the Clerk of Court using the CM/ECF system, and that a true
and accurate copy of it, along with the November 30, 2017 letter (DE 7) was sent to all parties
to this cause by depositing the original and/or copy hereof, postage pre-paid, in the United States

mail, addressed as follows:

C.R.
c/o Lauren Rogers
501 West Ave.
New Castle, DE 19720

This the 22nd day of January, 2018.

PARKER POE ADAMS & BERNSTEIN LLP

/s/Christopher M. Thomas

Christopher M. Thomas

N.C. Bar No. 31834
christhomas@parkerpoe.com

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